        Case 2:15-cv-01483-JLR Document 515 Filed 09/20/18 Page 1 of 2



                     UNITED STATES COURT OF APPEALS                        FILED
                            FOR THE NINTH CIRCUIT                           SEP 20 2018
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
KATHERINE MOUSSOURIS; et al.,                    No.    18-80080

                Plaintiffs-Petitioners,          D.C. No. 2:15-cv-01483-JLR
                                                 Western District of Washington,
 v.                                              Seattle

MICROSOFT CORPORATION,                           ORDER

                Defendant-Respondent.

Before: HAWKINS and N.R. SMITH, Circuit Judges.

      Petitioners’ motion for leave to file a reply in support of the petition for

permission to appeal (Docket Entry No. 22) is granted. The Clerk shall file the

reply submitted as an exhibit to Docket Entry No. 22.

      The court, in its discretion, grants the petition for permission to appeal the

district court’s June 25, 2018 order denying class action certification. See Fed. R.

Civ. P. 23(f); Chamberlan v. Ford Motor Co., 402 F.3d 952 (9th Cir. 2005).

Within 14 days after the date of this order, petitioners shall perfect the appeal in

accordance with Federal Rule of Appellate Procedure 5(d).

      The motion to file the petition for leave to appeal (“Petition”), the order

denying class certification (“Order”), and exhibits in Volume II (“Vol. II”) under

seal (Docket Entry No. 2) is granted for the purposes of this petition. See Interim

9th Cir. R. 27-13. The Clerk shall maintain the Petition, the Order, and Vol. II

MBI/MOATT
        Case 2:15-cv-01483-JLR Document 515 Filed 09/20/18 Page 2 of 2



under seal in this petition. This order neither seals nor unseals any documents

which may be submitted in the perfected appeal.

      If petitioners or respondent move to seal documents in the perfected appeal,

the party or parties on whose behalf sealing is sought shall:

      (1) In the new sealing motion or the response thereto, provide additional

          justification for sealing the following categories: “Confidential Human

          Resources Strategy;” “Confidential Diversity Initiatives, Strategy, and

          Representation;” and “Office of Federal Contract Compliance Programs.”

          See Resp. to Pet’rs’ Mot. to Seal at 9, 12. The additional justification

          should include case citations addressing these specific categories.

      (2) Include the chart attached to respondent’s Response to Petitioners’

          Motion to Seal, see Resp. to Pet’rs’ Mot. to Seal, App. A, with the

          addition of a column providing the text that was redacted from the page

          at issue.

      (3) In any sealed document, highlight or underline the information that was

          redacted from the corresponding publicly filed document.

      The parties are reminded that “[t]his Court has a strong presumption in favor

of public access to documents,” and any sealing motion “shall request the least

restrictive scope of sealing.” See Interim 9th Cir. R. 27-13(a), (c).




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